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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK

                                                                 Index No. 22-CV-10481
         Katie Kim and Miguelina Ortega on behalf of
         themselves and all others similarly situated,

                                           Plaintiffs,
                  v.                                                  COMPLAINT

         Let’s Meat Inc dba Let’s Meat and Jung H. Lee        COLLECTIVE AND CLASS
         aka Jayden,                                                ACTION

                                         Defendants,             JURY DEMANDED




          Plaintiffs Katie Kim and Miguelina Ortega (together, “Plaintiff”), on behalf of

 themselves and all other similarly situated individuals, by and through their undersigned counsel

 Ryan Kim Law, P.C., as and for their Complaint in this action against Defendants Let’s Meat Inc

 (“Let’s Meat” or the “Restaurant”) and Jung H. Lee (the “Individual Defendant”) (the Restaurant

 and the Individual Defendant are collectively referred to herein as “Defendants”), hereby alleges

 as follows:


                                   NATURE OF THE CLAIMS


    1.      Defendants subjected Plaintiffs, who worked as a server, assistant manager, and

hostess, and other similarly-situated employees at Let’s Meat to numerous violations of

federal and state laws during their employment, including (a) failure to pay minimum wages

in violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §201, et seq. and the New

York Labor Law (“NYLL”), §650 et seq.; (b) failure to pay overtime wages in violation of the

FLSA §207 and NYLL §650 et seq.; (c) illegal retention of employee gratuities in violation of


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FLSA §203(m)(2)(B) and NYLL §196-d; (d) failure to pay for all hours worked in violation

of NYLL §191; (e) failure to provide accurate wage notices in violation of NYLL §§195(1)

and (2).

    2.     Plaintiffs’ claims under the FLSA are brought as a collective action, pursuant to 29

U.S.C. §216(b), on behalf of themselves and on behalf of all other similarly situated persons

who were employed by Defendants as “Service/Front of the House (“FOH”) Staff,

including, but not limited to, Hosts, Servers, Bussers, and other similar ‘tipped’ positions”

and “Manager/Assistant manager” during the applicable limitations period (the “FLSA

Collective Period”).   Plaintiffs and all such other similarly situated persons are jointly

referred to herein as the “FLSA Collective.”

    3.     Plaintiffs’ claims under the NYLL are brought as a class action pursuant to Federal

Rule of Civil Procedure Rule 23 on behalf of themselves and on behalf of all other similarly

situated persons who were employed by Defendants as “Service/Front of the House

(“FOH”) Staff, including, but not limited to, Hosts, Servers, Bussers, and other similar

‘tipped’ positions” and “Manager/Assistant manager in non tipped position” during the

applicable limitations period (the “NYLL Class Period”).      Plaintiffs and all other such

similarly situated persons are jointly referred to herein as the “NYLL Class.”

                                JURISDICTION AND VENUE

    4.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §1331 as this

action involves federal questions regarding the deprivation of Plaintiff’s, the FLSA

Collective’s, and the NYLL Class’s rights under the FLSA.       The Court has supplemental

jurisdiction over Plaintiffs’ related claims arising under State law pursuant to 28 U.S.C. §

1367(a).



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    5.    Venue is proper in this district pursuant to 28 U.S.C. §1391(b) because a

substantial part of the events or omissions giving rise to this action, including the unlawful

employment practices alleged herein, occurred in this district, namely Manhattan, New

York.


                                           PARTIES

    6.    Plaintiffs Katie Kim is an adult resident of the state of New York and was

employed by Defendants as a hostess, server, and assistant manager at Let’s Meat from

about October 1, 2021, until July 14, 2022. At all relevant times, Ms. Kim was an

“employee” within the meaning of all applicable statutes.

    7.    Miguelina Ortega is an adult resident of the state of New York and was employed

by Defendants as a hostess, server, and assistant manager at Let’s Meat from August 2021

until August 27, 2022. At all relevant times, Ms. Ortega was an “employee” within the

meaning of all applicable statutes.

    8.    Defendant Let’s Meat Inc is a New York business corporation with a service of

process address of 307 5th Avenue, New York NY 10016.

    9.    The restaurant Let’s Meat is a Korean BBQ restaurant located at 307 5th Avenue,

New York NY 10016.       At all relevant times, Let’s Meat was an “employer” within the

meaning of all applicable statutes, and an enterprise engaged in commerce as defined by §

203(r) and (s) of the FLSA, with annual gross volume business done in an amount not less

than $500,000.

    10.   Defendant Jung H. Lee AKA Jayden is the service of process, a chief executive

officer, and the sole owner of Let’s Meat Inc and, upon information and belief, an adult

resident of the state of New York. Jung H Lee exercises sufficient control of Let’s Meat’s

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day-to-day operations, including, but not limited to, how employees are paid, to be

considered an “employer” within the meaning of all applicable statutes.


                                 FACTUAL ALLEGATIONS
 Minimum Wage Violations

    11.   Defendants were/are permitted, under the FLSA and NYLL, to pay certain tipped

employees at a statutory hourly rate that is less than the standard hourly minimum wage rate

so long as the “tips” or “gratuities” that such tipped employee is expected to receive, when

added to the hourly wages, meet or exceed the standard hourly minimum wage, and so long

as all tips received by the employees are retained by the employee, and no portion of the tips

are retained by Defendants or given to employees in non-tipped positions.

    12.   However, Defendants have not entitled to avail themselves of the reduced

minimum wage by applying the tip credit allowance for Plaintiffs, the FLSA Collective, and

the NYLL Class, because Defendants would retain tips and would pay a portion of the tips

earned by Plaintiffs, the FLSA Collective and the NYLL Class to managerial staff.

    13.   Upon information and belief, Defendants also siphoned off a portion of the tips

earned by Plaintiffs, the FLSA Collective, and the NYLL Class to pay the salaries of other

staff, including the salaries of the Restaurant’s other employees who were not tipped

employees and did not participate in the tip pool.

    14.   As such, Defendants were obligated to pay Plaintiffs, the FLSA Collective, and the

NYLL Class the standard hourly minimum wage rate, and not any reduced minimum wage

through the application of a tip credit.

    15.   Defendants tried to hide their practice of issuing tips by failing to be transparent

about and provide documentation such as tip pool sheets substantiating how much tips were

collected and how they were being allocated and paid out each day.
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    16.   As a result of the above unlawful practices, Plaintiffs, the FLSA Collective, and

NYLL Class were not paid minimum wages, in violation of the FLSA and NYLL.


 FLSA §203(m)(2)(B) and New York Labor Law §196-d Violations

    17.   As alleged above, during Plaintiffs’ employment and at all relevant times during

the FLSA Collective Period and NYLL Class Period, Defendants unlawfully retained tips

that were earned by and owed to Plaintiffs and other members of the NYLL Class and paid

them to owners and managers at the Restaurant, in violation of FLSA §203(m)(2)(B) and

NYLL §196- d.

    18.   As such, Defendants are required to disgorge and pay back all the gratuities they

unlawfully retained to Plaintiffs, the FLSA Collective, and the NYLL Class, along with

liquidated damages and interest.

 “Shaving Time”
    19.   During Plaintiffs’ employment and the FLSA Collective Period and NYLL Class

Period, Defendants required or caused Plaintiffs and members of the FLSA Collective and

NYLL Class to perform “off the clock” through their practice of docking employees a few

hours per week.

    20.   As part of their regular business practices, Defendants have intentionally, willfully,

and repeatedly engaged in a pattern, practice, and/or policy of violating the FLSA with

respect to Plaintiff and the FLSA collective. This policy and pattern or practice include, but

is not limited to, willfully shaving their employees' time in order to avoid paying for all of

the hours worked by Plaintiffs and the FLSA Collective.

    21.   As a result of this and other “Time Shaving,” Defendants unlawfully failed to pay

Plaintiffs, the FLSA Collective, and the NYLL Class minimum wages in violation of the


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FLSA and NYLL, overtime wages in violation of the FLSA and NYLL, and straight time

wages for all hours worked in violation of NYLL §191(1)(a)(i).

 Wage Notice and Wage Statement Violations

    22.   Defendants also failed to provide Plaintiffs and members of the NYLL Class wage

notices and/or accurate wage notices as required by NYLL §§195(1) and (2) at the time of

their hiring or when any changes to the information required in the wage notices took place.

    23.   Accordingly, by failing to comply with their wage notice requirements, Defendants

owed Plaintiffs and the NYLL Class $50 per day for every day such notice was not provided,

up to $5,000 per employee.

    24.   In addition, Defendants failed to furnish Plaintiffs and members of the NYLL

Class with accurate wage statements, i.e., pay stubs, that included, inter alia, their hours

worked, any minimum wage allowances that were applied, and the correct amount of tip

wages they should have and were legally owed.

    25.   By failing to comply with their wage statements obligations, Defendants owed

Plaintiffs and the NYLL Class $250 for each violation, up to $5,000 per employee


                      FLSA COLLECTIVE ACTION ALLEGATIONS

    26.   Plaintiffs bring their FLSA claims as a collective action on behalf of themselves

and on behalf of all other similarly situated persons who were employed by Defendants as

“Service/Front of House Staff, including, but not limited to, Servers, Bussers, or other

similar services ‘tipped’ positions and Assistant Manager in non-tipped positions during the

FLSA Collective Period.”

    27.   At all relevant times, Plaintiffs and the other members of the FLSA Collective

were similarly situated, had substantially similar job requirements, were paid in the same

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manner and under the same common policies, plans, and practices, and were subject to

Defendants’ failure to pay them at the legally required minimum wage for all hours worked,

all of the tips they were owed, and overtime wages for hours worked over 40 in a week.

    28.   During the FLSA Collective Period, Defendants were fully aware of the duties

performed by Plaintiffs and the FLSA Collective, and that those duties were not exempt

from the minimum wage and overtime provisions of the FLSA.

    29.   As a result of Defendants’ conduct as alleged herein, Defendants violated 29

U.S.C. §206 by not paying Plaintiffs and the FLSA Collective the prevailing minimum wage

for all hours worked, 29 U.S.C. §203(m)(2)(B) by keeping tips received by its employees,

including allowed managers and supervisors to keep a portion of employees’ tips, and

violated 29 U.S.C. §207 by not paying Plaintiffs and the FLSA Collective overtime wages

for hours worked over 40 in a week.

    30.   As a result of Defendants’ conduct, Defendants are liable to Plaintiffs and the

FLSA Collective for the full amount of their unpaid minimum, overtime wages and tips

unlawfully kept, plus an additional equal amount in liquidated damages, interest, plus the

attorneys’ fees and costs incurred by Plaintiffs and the FLSA Collective.

    31.   While the exact number of the FLSA Collective is unknown to Plaintiffs at the

present time, upon information and belief, there are more than 40 other similarly situated

persons who were employed by Defendants as “Service/Front of House Staff, including, but

not limited to, Servers, Bussers, or other similar services ‘tipped’ positions during the FLSA

Collective Period.”

                        RULE 23 CLASS ACTION ALLEGATIONS
    32.   Plaintiffs bring their NYLL claims as a class action pursuant to Federal Rule of

Civil Procedure 23 on behalf of themselves and behalf of all other similarly situated persons

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who were employed by Defendants as “Service/Front of House Staff, including, but not

limited to, Servers, Bussers, or other similar services ‘tipped’ positions during the NYLL

Class Period.”

    33.   Plaintiffs allege that they and other NYLL Class Members were/are: (i) not paid

the prevailing minimum wage for all hours worked; (ii) not paid overtime wages for all hours

worked over 40 hours in a week; (iii) unlawfully denied gratuities; (iv) not paid wages for all

hours worked; (v) not provided with appropriate wage notices, and (vi) not furnished with

appropriate wage statements.

    34.   The basic job duties of the NYLL Class were the same as or substantially similar to

those of Plaintiffs, and the NYLL Class was paid in the same manner and under the same

common policies, plans, and practices as Plaintiffs.

    35.   Defendants subjected both the NYLL Class and Plaintiffs, to the same unlawful

policies, plans, and practices, including not paying the prevailing minimum wage for all

hours worked or overtime wages for hours worked over 40 in a week, retaining gratuities,

not paying for all hours worked, and not furnishing appropriate wage notices and wage

statements.

    36.   During the NYLL Class Period, Defendants were fully aware of the duties

performed by Plaintiffs and the NYLL Class, and that those duties were not exempt from the

applicable provisions of the NYLL and/or its regulations.

    37.   As a result of Defendants’ conduct as alleged herein, Defendants violated the

NYLL and/or its regulations by not paying the prevailing minimum wage for all hours

worked or overtime wages for hours worked over 40 in a week, retaining gratuities, not

paying for all hours worked, and not furnishing appropriate wage notices and accurate wage

statements.
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    38.   As a result of Defendants’ conduct, Defendants are liable to Plaintiffs and the

NYLL Class for the full amount of their unpaid minimum wage, unpaid overtime wages, the

amount of gratuities retained by Defendants, wages for all hours worked, penalties for failing

to issue appropriate wage notices up to $5,000 per person, and penalties for failing to furnish

appropriate wage notices of up to $5,000 per person, plus additional amounts (where

applicable) in liquidated damages, interest, plus the attorneys’ fees and costs incurred by

Plaintiffs and the NYLL Class.

    39.   Certification of the NYLL Class’s claims as a class action is the most efficient and

economical means of resolving the questions of law and facts common to Plaintiffs’ claims

and the claims of the NYLL Class.     Plaintiffs have the standing to seek such relief because

of the adverse effects that Defendants’ unlawful compensation policies and practices have

had on them individually and on members of the NYLL Class.         Without class certification,

the same evidence and issues would be subject to re-litigation in a multitude of individual

lawsuits with an attendant risk of inconsistent adjudications and conflicting obligations.

Certification of the NYLL Class is the most efficient and judicious means of presenting the

evidence and arguments necessary to resolve such questions for Plaintiffs, the NYLL Class,

and Defendants.

    40.   Plaintiffs’ claims raise questions of law and facts common to the NYLL Class.

Among these questions are:

            • Whether Defendants employed Plaintiffs and the NYLL Class Members within
              the meaning of the NYLL;

            • Whether Defendants paid Plaintiffs and the NYLL Class Members the federal and
              state minimum wage for all hours worked during the NYLL Class Period;

            • Whether Defendants paid Plaintiffs and the NYLL Class Members overtime
              wages for all hours worked over 40 in a workweek;


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             • Whether Defendants’ failure to pay the prevailing minimum wage or overtime
               wages constitute violations of the FLSA or NYLL;
             • At what common rate, or rates subject to common methods of calculation, were
               Defendants required to pay Plaintiffs and the Class Members for their work;

             • Whether Defendants illegally retained Plaintiffs’ and the NYLL Class Members’
               tips;

             • Whether Defendants failed to pay Plaintiffs and the NYLL Class wages for all
               hours worked;

             • Whether Defendants failed to issue Plaintiffs and the NYLL Class appropriate
               wage notices in violation of the NYLL;

             • Whether Defendants failed to furnish Plaintiffs and the NYLL Class with
               appropriate wage statements in violation of the NYLL; and

             • Whether Defendants’ violations of the FLSA and NYLL and/or their regulations
               were willful.

    41.   These common questions of law and fact arise from the same course of events, and

each class member will make similar legal and factual arguments to prove liability.

    42.   Plaintiffs are members of the NYLL Class that they seek to represent.       Plaintiffs’

claims are typical of the claims of the NYLL Class.     The relief Plaintiffs seek for the

unlawful policies and practices complained of herein are also typical of the relief which is

sought on behalf of the NYLL Class.

    43.   The Plaintiffs’ interests are co-extensive with those of the NYLL Class that she

seeks to represent in this case.   Plaintiffs are willing and able to represent the NYLL Class

fairly and vigorously pursue their similar individual claims in this action.   Plaintiffs have

retained counsel who is qualified and experienced in labor and employment class action

litigation, and who is able to meet the time and fiscal demands necessary to litigate a class

action of this size and complexity.    The combined interests, experience, and resources of




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Plaintiffs and their counsel to litigate the individual and NYLL Class claims at issue in this

case satisfy the adequacy of the representation requirement of Fed. R. Civ. P. 23(a)(4).

    44.   Defendants have acted or refused to act on grounds generally applicable to the

NYLL Class, making final injunctive and declaratory relief appropriate with respect to the

NYLL Class.

    45.   Injunctive and declaratory relief is the predominant relief sought in this case

because they are the culmination of the proof of Defendants’ individual and class-wide

liability and the essential predicate for Plaintiffs’ and the NYLL Class’s entitlement to

monetary and non-monetary remedies to be determined at a later stage of the proceedings.

    46.   The common issues of law and facts affecting Plaintiffs’ claims and those of the

NYLL Class Members, including the common issues identified above, predominate over

any issues affecting only individual claims.

    47.   A class action is superior to other available means for the fair and efficient

adjudication of Plaintiffs’ claims and the claims of the NYLL Class.       There will be no

difficulty in the management of this action as a class action.

    48.   The cost of proving the Defendants’ violations of the NYLL and the supporting

regulations makes it impracticable for Plaintiffs and the NYLL Class to pursue their claims

individually.   Maintenance of a class action promotes judicial economy by consolidating a

large class of Plaintiffs litigating identical claims.   The claims of the NYLL Class interrelate

such that the interests of the members will be fairly and adequately protected in their

absence. Additionally, the questions of law and fact common to the NYLL Class arise from

the same course of events and each class member makes similar legal and factual arguments

to prove the Defendants’ liability.



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    49.   The NYLL Class is so numerous that the joinder of all members is impracticable.

While the exact number of the NYLL Class is unknown to Plaintiffs at the present time,

upon information and belief, there are more than 40 similarly situated persons who were/are

employed by Defendants as “Service/Front of House Staff, including, but not limited to

Servers. Bussers, or other similar ‘tipped’ positions during the NYLL Class Period.”

                               FIRST CLAIM FOR RELIEF
                 (Failure to Pay Minimum Wages in Violation of the FLSA)

    50.   Plaintiffs, on behalf of themselves and the FLSA Collective, reallege and

incorporate by reference all preceding paragraphs relevant to their minimum wage violation

claims as if they were set forth again herein.

    51.   The FLSA requires covered employers, such as Defendants, to pay all non-exempt

employees the prevailing minimum wage for all hours worked.       Plaintiffs and the FLSA

Collective were not exempt from the requirement that Defendants pay them the prevailing

minimum wage under the FLSA.

    52.   During the FLSA Collective Period, Defendants did not pay Plaintiffs and the

FLSA Collective the prevailing minimum wage for all hours worked for Defendants.

    53.   As a result of Defendants’ failure to pay Plaintiffs and the FLSA Collective the

prevailing minimum wage for all hours worked, Defendants violated the FLSA.

    54.   The foregoing conduct of Defendants constitutes willful violations of the FLSA.

    55.   Defendants’ violations of the FLSA have significantly damaged Plaintiffs and the

FLSA Collective and entitle them to recover the total amount of their unpaid minimum

wages, an additional equal amount in liquidated damages, interest, and attorneys’ fees and

costs.

                               SECOND CLAIM FOR RELIEF

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                  (Failure to Pay Overtime Wages in Violation of the FLSA)
    56.   Plaintiffs, on behalf of themselves and the FLSA Collective, reallege and

incorporate by reference all preceding paragraphs relevant to their overtime wage violation

claims as if they were set forth again herein.

    57.   The FLSA requires covered employers, such as Defendants, to pay all non-exempt

employees overtime wages of one and one-half times their regular hourly wages for hours

worked over 40 in a week.      Plaintiffs and the FLSA Collective were not exempt from the

requirement that Defendants pay them overtime wages under the FLSA.

    58.   During the FLSA Collective Period, Defendants did not pay Plaintiffs and the

FLSA Collective overtime wages for all hours worked over 40 in a week for Defendants.

    59.   As a result of Defendants’ failure to pay Plaintiffs and the FLSA Collective

overtime wages for all hours worked over 40 in a workweek, Defendants violated the FLSA.

    60.   The foregoing conduct of Defendants constitutes willful violations of the FLSA.

    61.   Defendants’ violations of the FLSA have significantly damaged Plaintiffs and the

FLSA Collective and entitle them to recover the total amount of their unpaid overtime

wages, an additional equal amount in liquidated damages, interest, and attorneys’ fees and

costs.


                                  THIRD CLAIM FOR RELIEF
                        (Illegal Retention of Gratuities Under the FLSA)

    62.   Plaintiffs, on behalf of themselves and the FLSA Collective, reallege and

incorporate by reference all preceding paragraphs relevant to their claim for illegal retention

of gratuities as if they were set forth again herein.

    63.   Pursuant to 29 U.S.C. §203(m)(2)(B), the FLSA prohibits an employer from

keeping tips received by its employees for any purposes, including allowing managers or
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supervisors to keep any portion of employees’ tips, regardless of whether or not the employer

takes a tip credit.

    64.   During the FLSA Collective Period, Defendants unlawfully retained gratuities

from Plaintiffs and the NYLL Class, in violation of the FLSA.

    65.   Due to Defendants’ FLSA violations, Plaintiffs and the FLSA Collective members

are entitled to recover from Defendants the amount of unlawfully retained gratuities,

liquidated damages, interest, and attorneys’ fees and costs.

                                   FOURTH CLAIM FOR RELIEF
                      (Failure to Pay Minimum Wage in Violation of the NYLL)
    66.   Plaintiffs, on behalf of themselves and the NYLL Class, reallege and incorporate

by reference all preceding paragraphs relevant to their minimum wage claim as if they were

set forth again herein.

    67.   The NYLL requires covered employers, such as Defendants, to pay all non-exempt

employees the prevailing minimum wage for all hours worked.      Plaintiffs and the NYLL

Class were not exempt from the requirement that Defendants pay them the prevailing

minimum wage under the NYLL.

    68.   During the NYLL Class Period, Defendants did not pay Plaintiffs and the NYLL

Class the prevailing minimum wage for all hours worked for Defendants.

    69.   As a result of Defendants’ failure to pay Plaintiffs and the NYLL Class the

prevailing minimum wage for all hours, Defendants violated the NYLL.

    70.   The foregoing conduct of Defendants constitutes willful violations of the NYLL.

    71.   Defendants’ violations of the NYLL have significantly damaged Plaintiffs and the

NYLL Class and entitle them to recover the total amount of their unpaid minimum wages,

an additional amount in liquidated damages, interest, and attorneys’ fees and costs.


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                                FIFTH CLAIM FOR RELIEF
                  (Failure to Pay Overtime Wages in Violation of the NYLL)

    72.   Plaintiffs, on behalf of themselves and the NYLL Class, reallege and incorporate

by reference all preceding paragraphs relevant to their overtime wage violation claims as if

they were set forth again herein.

    73.   The NYLL requires covered employers, such as Defendants, to pay all non-exempt

employees overtime wages of one and one-half times their regular hourly wages for hours

worked over 40 in a week.     Plaintiffs and the NYLL Class were not exempt from the

requirement that Defendants pay them overtime wages under the NYLL.

    74.   During the NYLL Class Period, Defendants did not pay Plaintiffs and the NYLL

Class overtime wages for all hours worked over 40 in a week for Defendants.

    75.   As a result of Defendants’ failure to pay Plaintiffs and the NYLL Class overtime

wages for all hours worked over 40 in a workweek, Defendants violated the NYLL.

    76.   The foregoing conduct of Defendants constitutes willful violations of the NYLL.

    77.   Defendants’ violations of the NYLL have significantly damaged Plaintiffs and the

NYLL Class and entitle them to recover the total amount of their unpaid overtime wages, an

additional equal amount in liquidated damages, interest, and attorneys’ fees and costs.


                                 SIXTH CLAIM FOR RELIEF
                       (Illegal Retention of Gratuities Under the NYLL)

    78.   Plaintiffs, on behalf of themselves and the NYLL Class, reallege and incorporate

by reference all preceding paragraphs relevant to their claim for illegal retention of gratuities

as if they were set forth again herein.

    79.   NYLL §196-d bars an employer from retaining “any part of a gratuity or of any

charge purported to be gratuity[.]”

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    80.   During the NYLL Class Period, Defendants unlawfully retained gratuities from

Plaintiffs and the NYLL Class in violation of NYLL §196-d.

    81.   Due to Defendants’ NYLL violations, Plaintiffs and the NYLL Class Members are

entitled to recover from Defendants the amount of unlawfully retained gratuities, liquidated

damages, interest, and attorneys’ fees and costs.

                             SEVENTH CLAIM FOR RELIEF
             (Failure to Pay Wages for All Hours Worked/Straight Time Wages)

    82.   Plaintiffs, on behalf of themselves and the NYLL Class, reallege and incorporate

by reference all preceding paragraphs relevant to their claim for failure to pay wages for all

hours worked as if they were set forth again herein.

    83.   NYLL §191(1)(a) requires employers to pay wages to manual workers like

Plaintiffs and the NYLL Class on a weekly basis and not later than seven calendar days after

the end of the week in which the wages are earned.

    84.   During the NYLL Class Period, Defendants unlawfully failed to pay wages to

Plaintiffs and the NYLL for all hours worked, i.e., straight-time wages, no later than seven

calendar days after the end of the week in which the wages were earned, in violation of

NYLL §191(1)(a).

    85.   Due to Defendants’ NYLL violations, Plaintiffs and the NYLL Class Members are

entitled to recover from Defendants the amount of unpaid straight-time wages, liquidated

damages, interest, and attorneys’ fees and costs.

                                EIGHTH CLAIM FOR RELIEF
                                 (Failure to Issue Wage Notices)




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    86.    Plaintiffs, on behalf of themselves and the NYLL Class, reallege and incorporate

by reference all preceding paragraphs relevant to their claim for failure to issue wage notices

as if they were set forth again herein.

    87.    NYLL §§195(1) and (2) require employers to issue wage notices to employees at

the time of their hiring or when any changes to the information required to appear on wage

notices occur.

    88.    During the NYLL Class Period, Defendants unlawfully failed to issue appropriate

wage notices to Plaintiffs and the NYLL Class.

    89.    Due to Defendants’ NYLL violations, Plaintiffs and the NYLL Class Members are

each entitled to $50 per day for every day such wage notice was not provided, up to $5,000

per person, plus interest and attorneys’ fees and costs.


                                NINTH CLAIM FOR RELIEF
                       (Failure to Furnish Wage Statements/Pay Stubs)

    90.    Plaintiffs, on behalf of themselves and the NYLL Class, reallege and incorporate

by reference all preceding paragraphs relevant to their claim for failure to furnish wage

statements as if they were set forth again herein.

    91.    NYLL §195(3) requires employers to furnish employees with wage statements, i.e.,

pay stubs, that include, inter alia, hours worked, and any minimum wage allowances that are

applied.

    92.    During the NYLL Period, Defendants unlawfully failed to issue appropriate wage

statements to Plaintiffs and the NYLL Class.




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    93.   Due to Defendants’ NYLL violations, Plaintiffs and the NYLL Class Members are

each entitled to $250 per violation up to $5,000 per person, plus interest and attorneys’ fees

and costs.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, on behalf of themselves, the FLSA Collective, and the NYLL

  Class, respectfully requests that the Court:

     A.        Declare that the practices complained of herein are unlawful under applicable

federal and state law;

     B.        Declare this action to be maintainable as a collective action pursuant to 29 U.S.C. §

216, and direct Defendants to provide Plaintiffs with a list of all members of the FLSA Collective,

including all last known addresses, telephone numbers, and e-mail addresses of each such person,

so Plaintiffs can give such person notice of this action and an opportunity to make an informed

decision about whether to participate in it;

     C.        Determine the damages sustained by Plaintiffs and the FLSA Collective as a result

of Defendants’ violations of the FLSA, and award those damages against Defendants and in favor

of Plaintiffs and the FLSA Collective, plus such pre-judgment and post-judgment interest as may

be allowed by law;

     D.        Award Plaintiffs and the FLSA Collective an additional equal amount as liquidated

damages because Defendants’ violations were willful and/or without a good faith basis;

     E.        Declare this action to be maintainable as a class action pursuant to Fed. R. Civ. P.

23, and direct Defendants to provide Plaintiffs with a list of all members of the NYLL Class,

including all last known addresses, telephone numbers, and e-mail addresses of each such person,

so Plaintiffs can give such person notice of this action and an opportunity to make an informed

decision about whether to participate in it;
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     F.             Designate Plaintiffs as representatives of the NYLL Class, and their counsel of

record as class counsel;

     G.             Determine the damages sustained by Plaintiffs and the NYLL Class as a result of

Defendants’ violations of the NYLL and/or its regulations, and award those damages against

Defendants and in favor of Plaintiffs and the NYLL Class, plus such pre-judgment and post-

judgment interest as may be allowed by law;

     H.             Award Plaintiffs and the NYLL Class an additional amount as liquidated damages

pursuant to the NYLL because Defendants’ violations were willful and/or without a good faith

basis;

         I.         Award Plaintiffs, the FLSA Collective, and the NYLL Class their reasonable

attorneys’ fees and costs and disbursements in this action including, but not limited to, any

accountants’ or experts’ fees;

         J.         Grant Plaintiffs, the FLSA Collective, and the NYLL Class such other and further

relief that the Court deems just and proper.



                                       DEMAND FOR JURY TRIAL

              Plaintiffs, on behalf of themselves and on behalf of all other similarly situated persons,

 hereby demands a trial by jury on all issues of fact and damages.


Dated: December 12, 2022

                                                             /s/ Ryan Kim
                                                            Ryan J. Kim

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